Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 1 of 35 Page ID #:1124




  1   Louis W. Tompros (pro hac vice)
      louis.tompros@wilmerhale.com
  2   Monica Grewal (pro hac vice)
      monica.grewal@wilmerhale.com
  3   Scott W. Bertulli (pro hac vice)
      scott.bertulli@wilmerhale.com
  4   WILMER CUTLER PICKERING
        HALE AND DORR LLP
  5   60 State Street
      Boston, MA 02109
  6   Telephone: (617) 526-6000
      Fax: (617) 526-5000
  7
      Henry Nikogosyan (SBN 326277)
  8   henry.nikogosyan@wilmerhale.com
      WILMER CUTLER PICKERING
  9    HALE AND DORR LLP
      350 South Grand Ave., Suite 2400
 10   Los Angeles, CA 90071
      Telephone: (213) 443-5300
 11   Fax: (213) 443-5400
 12   Attorneys for Defendants
      Ryder Ripps and Jeremy Cahen
 13
 14
                           UNITED STATES DISTRICT COURT
 15
                          CENTRAL DISTRICT OF CALIFORNIA
 16
                                       WESTERN DIVISION
 17
 18
                                                     Case No. 2:22-cv-04355-JFW-JEM
 19
       Yuga Labs, Inc.,
 20                                                  NOTICE OF MOTION; ANTI-
                                       Plaintiff,    SLAPP MOTION TO STRIKE AND
 21
                                                     MOTION TO DISMISS
 22          v.
                                                     Filed Pursuant to Court Order (Dkt. 44).
 23
       Ryder Ripps, Jeremy Cahen, Does 1-10,         Hearing Date: Nov. 7, 2022, at 1:30
 24                                                  p.m., Pursuant to Standing Order ¶ 5(a)
                                                     Judge: Hon. John F. Walter
 25
                                   Defendants.
 26
 27
 28

      Case No. 2:22-cv-04355-JFW-JEM                NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 2 of 35 Page ID #:1125




  1                         NOTICE OF MOTION AND MOTION
  2         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR COUNSEL
  3   OF RECORD:
  4         PLEASE TAKE NOTICE that on November 7, 2022, at 1:30 p.m., or at
  5   another time convenient for the Court, in Courtroom 7A of the First Street United
  6   States Courthouse at 350 W. 1st Street, Los Angeles, California, 90012 or in such
  7   manner as the Court directs, Defendants Ryder Ripps and Jeremy Cahen will move
  8   this Court to strike Yuga Labs, Inc.’s California law causes of action and award fees
  9   and costs pursuant to Cal. Civ. Proc. Code. § 425.16(c) and dismiss Yuga Labs Inc.’s
 10   federal law causes of action pursuant to Fed. R. Civ. P 12(b)(6), or in the alternative,
 11   to dismiss Yuga Labs, Inc.’s Complaint pursuant to Fed. R. Civ. P. 12(b)(6) in its
 12   entirety.
 13         This motion is made following conferences of counsel pursuant to L.R. 7-3
 14   which took place on August 5, 2022, and August 23, 2022. Yuga Labs, Inc. indicated
 15   that it disagreed with the substance of Ryder Ripps and Jeremy Cahen’s motion and
 16   was not willing to stipulate to dismissal. Defendants are re-filing their motion to
 17   strike and motion to dismiss as “previously filed” pursuant to the Court’s September
 18   26, 2022 order (Dkt. 44).
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 3 of 35 Page ID #:1126




  1                           STATEMENT OF RELIEF SOUGHT
  2         Defendants Ryder Ripps and Jeremy Cahen respectfully request that the Court
  3   strike Yuga Labs, Inc.’s Claims 4-11 in the Complaint and award fees and costs
  4   pursuant to Cal. Civ. Proc. Code. § 425.16(c) and dismiss Yuga Labs, Inc.’s Claims 1-
  5   3 pursuant to Rule 12(b)(6), or in the alternative, dismiss Yuga Labs, Inc.’s Complaint
  6   pursuant to Rule 12(b)(6) in its entirety.
  7
  8
  9   Dated: October 3, 2022                   By: /s/ Louis W. Tompros
 10                                                Louis W. Tompros (pro hac vice)
                                                   louis.tompros@wilmerhale.com
 11                                                Monica Grewal (pro hac vice)
                                                   monica.grewal@wilmerhale.com
 12                                                Scott W. Bertulli (pro hac vice)
                                                   scott.bertulli@wilmerhale.com
 13                                                WILMER CUTLER PICKERING
                                                     HALE AND DORR LLP
 14                                                60 State Street
                                                   Boston, MA 02109
 15                                                Telephone: (617) 526-6000
                                                   Fax: (617) 526-5000
 16
                                                   Henry Nikogosyan (SBN 326277)
 17                                                henry.nikogosyan@wilmerhale.com
                                                   WILMER CUTLER PICKERING
 18                                                 HALE AND DORR LLP
                                                   350 South Grand Ave., Suite 2400
 19                                                Los Angeles, CA 90071
                                                   Telephone: (213) 443-5300
 20                                                Fax: (213) 443-5400
 21                                                Attorneys for Defendants
                                                   Ryder Ripps and Jeremy Cahen
 22
 23
 24
 25
 26
 27
 28


      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 4 of 35 Page ID #:1127




  1                                           TABLE OF CONTENTS
  2                                                                                                                         Page
  3   I.     INTRODUCTION ................................................................................................ 1
  4   II.    BACKGROUND .................................................................................................. 2
  5
             A.       Mr. Ripps Is a Recognized Artist ............................................................... 2
  6
             B.       Yuga Systematically Embedded Racist Messages and Imagery in
  7                   Its Trademarks and Products ...................................................................... 3
  8
             C.       Mr. Ripps’s Artistic Project Is a Protest of Yuga’s Dog Whistles ............ 6
  9
             D.       Yuga Is Attempting To Silence Mr. Ripps ................................................ 9
 10
 11   III.   LEGAL STANDARD ........................................................................................ 10

 12   IV.    ARGUMENT...................................................................................................... 10
 13          A.       The RR/BAYC Project Is Protected Speech Made In Connection
 14                   With A Public Issue ................................................................................. 10

 15                   i.       Mr. Ripps Created The RR/BAYC Project In Furtherance of
                               His Constitutional Right of Free Speech ....................................... 11
 16
 17                   ii.      The RR/BAYC Project Communicates Ideas In Connection
                               With A Public Issue ....................................................................... 12
 18
             B.       The Complaint Does Not Support A Plausible Cause of Action ............. 13
 19
 20                   i.       Yuga’s Trademark Infringement Claims (Claims 4-7) Are
                               Legally Insufficient Under the Rogers Free Speech Test .............. 13
 21
                      ii.      Yuga’s Trademark Infringement Claims Based on the
 22                            RR/BAYC Project (Claims 4-7) also Fail Because Use of
 23                            Yuga’s Alleged Marks Is Nominative Fair Use ............................ 17
 24                   iii.     Yuga Did Not Allege a Misleading Representation of Fact in
 25                            Support of Its False Advertising Claims (Claim 7) ....................... 20

 26                   iv.      Yuga Has Failed To Plausibly Allege Unjust Enrichment
                               (Claim 8) ........................................................................................ 21
 27
                                                                 -i-
 28
       Case No. 2:22-cv-04355-JFW-JEM                             NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 5 of 35 Page ID #:1128




  1                v.       Yuga Has Failed To Plausibly Allege Conversion (Claim 9) ....... 22
  2                vi.      Yuga Failed to Plausibly Allege Intentional Interference
  3                         with Prospective Economic Advantage (Claim 10) ...................... 23
  4                vii.     Yuga Has Not Plausibly Alleged Negligent Interference
                            With Prospective Economic Advantage (Claim 11)...................... 24
  5
  6        C.      Dismissal Under Rule 12(b)(6) ................................................................ 25
  7   V.   CONCLUSION .................................................................................................. 25
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                            -ii-
      Case No. 2:22-cv-04355-JFW-JEM                          NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 6 of 35 Page ID #:1129




  1                                            TABLE OF AUTHORITIES
  2                                                                                                                        Page(s)
  3
                                                                CASES
  4
  5   Adobe Systems Inc. v. Christenson, 809 F.3d 1071, 1081 (9th Cir. 2015) ................... 18
  6
      Applied Underwriters, Inc. v. Lichtenegger, 913 F.3d 884, 889
  7         (9th Cir. 2019) .............................................................................................. 18, 19
  8
      Battle v. Taylor James, LLC, No. 21-cv-07915-FWS-KES, 2022 WL 2162930
  9          (C.D. Cal. June 15, 2022) ................................................................................... 14
 10
      BMW of North America v. Mini Works, LLC, 463 Fed. App’x. 689 (Fed. Cir.
 11       2011) ................................................................................................................... 18
 12
 13   Cairns v. Franklin Mint Co., 292 F.3d 1139 (9th Cir. 2002) ....................................... 19

 14   Calista Enterprises Ltd. v. Tenza Trading Ltd., 43 F. Supp. 3d 1099
 15         (9th Cir. 2014) .................................................................................................... 13

 16   Denims v. Ram Imports, Inc, No. CV 20-0254 DSF (JCx), 2021 WL 4814995
 17        (C.D. Cal. Mar. 5, 2021)..................................................................................... 24
 18
      Dr. Suess Enters., L.P. v. ComicMix LLC, 983 F.3d 443 (9th Cir. 2020) .................... 13
 19
 20   E.S.S. Entertainment 200, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095 (9th
             Cir. 2008) ............................................................................................................ 13
 21
 22   Gordon v. Drape Creative, Inc, 909 F.3d 257 (9th Cir. 2018)............................... 14, 15

 23   Herring Networks, Inc. v. Maddow, 8 F.4th 1148 (9th Cir. 2021) ............................... 10
 24
      Hilton v. Hallmark Cards, 599 F.3d 894 (9th Cir. 2010). ............................................ 12
 25
 26   Innospan Corp. v. Intuit, Inc., No. C 10-04422 WHA, 2010 WL 5017014 (N.D.
 27         Cal. Dec. 3, 2010) ............................................................................................... 23

 28
                                                                   -iii-
       Case No. 2:22-cv-04355-JFW-JEM                                 NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 7 of 35 Page ID #:1130




  1   J’Aire Corp. v. Gregory, 24 Cal. 3d 799, 598 P.2d 60 (1979) ..................................... 25
  2
      Khoja v. Rexigen Therapeutics, Inc., 899 F.3d 988 (9th Cir. 2018)............................. 14
  3
  4   Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134 (2003) ....................... 23
  5   Kremen v. Cohen, 337 F.3d 1024 (9th Cir. 2003) ........................................................ 22
  6
      Marin Tug & Barge, Inc. v. Westport Petroleum, Inc., 271 F.3d 825 (9th Cir.
  7
           2001) ................................................................................................................... 23
  8
  9   Mattel Inc. v. Walking Mountain Productions, 353 F.3d 792
             (9th Cir. 2003) ....................................................................................... 17, 19, 20
 10
 11   Mattel, Inc. v. MCA Records, 296 F.3d 894 (9th Cir. 2002) ....................................... 11
 12   Mattel, Inc. v. MCA Records, Inc., 28 F. Supp. 2d 1120 (C.D. Cal. 1998), aff’d,
 13         296 F.3d 894 (9th Cir. 2002) ........................................................................ 21, 22
 14
      McBride v. Boughton, 123 Cal. App. 4th 379, 20 Cal. Rptr. 3d 115 (2004) ................ 22
 15
 16   Meeker v. Meeker, No. C 02-00741 JSW, 2004 WL 2554452 (N.D. Cal. Nov.
           10, 2004) ............................................................................................................. 22
 17
 18   Moore v. Mars Petcare US, Inc., 966 F.3d 1007 (9th Cir. 2020) ................................. 20
 19
      National Med. Transportation Network v. Deloitte & Touche, 72 Cal. Rptr. 2d
 20         720 (1998)........................................................................................................... 24
 21
      New Kids on the Block v. New America Pub, 971 F.2d 302 (9th Cir. 1992).... 17, 18, 19
 22
 23   Planned Parenthood Federation of America, Inc. v. Center for Medical.
           Progress, 890 F.3d 828 (9th Cir. 2018) ................................................. 10, 13, 25
 24
 25   Prager University v. Google LLC, 951 F.3d 991 (9th Cir. 2020) ................................ 20
 26
      Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137 (9th Cir. 2008) .................... 24
 27
 28   Stolz v. Wong Comms. LP, 25 Cal. App. 4th 181, 31 Cal. Rptr. 2d 229 (1994) .......... 25
                                                                   -iv-
       Case No. 2:22-cv-04355-JFW-JEM                                 NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 8 of 35 Page ID #:1131




  1   Tethys Bioscience, Inc. v. Mintz, et al., No. 09–5115, 2010 WL 2287474 (N.D.
            Cal. June 4, 2010) ............................................................................................... 23
  2
  3   Toyota Motor Sales v. Tabari, 610 F.3d 1171 (9 th Cir. 2010) .............................. 18, 20
  4
      Travelers Casualty Insurance Company of America v. Hirsh, 831 F.3d 1179
  5         (9th Cir. 2016) .................................................................................................... 21
  6
      Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097 (9th Cir. 2003)................................... 10
  7
  8                                   STATUTES, RULES, REGULATIONS
  9
      California Civil Procedure Code § 425.16(c) ............................................. 10, 11, 13, 25
 10
 11   Federal Rule of Civil Procedure 12(f) .......................................................................... 10
 12   Federal Rule of Civil Procedure Rule 12(b)(6) ...................................................... 10, 25
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                  -v-
      Case No. 2:22-cv-04355-JFW-JEM                                NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 9 of 35 Page ID #:1132




  1   I.    INTRODUCTION
  2         This lawsuit is an attempt to silence an artist who used his craft to call out a
  3   multi-billion-dollar company built on racist and neo-Nazi dog whistles. Ryder Ripps
  4   used conceptual art to critique hateful imagery in the popular “Bored Ape Yacht
  5   Club” project—a commercially successful collection of “NFTs” sold by the plaintiff,
  6   Yuga Labs, Inc. (“Yuga”). When called out on their racism, Yuga sued Mr. Ripps not
  7   for defamation, but for trademark infringement. The First Amendment and the
  8   Rogers test preclude exactly this kind of abusive trademark infringement lawsuit.
  9         Mr. Ripps’s artistic criticism is well founded and directly connected to Yuga’s
 10   trademarks. For example, Yuga’s “BA YC logo” imitates the Nazi Totenkopf emblem
 11   for the Schutzstaffel (SS), which was the Nazi organization primarily responsible for
 12   the Holocaust. Below is a side-by-side comparison of the BAYC logo, the Nazi SS
 13   Totenkopf, and the satirical logo Mr. Ripps created to criticize Yuga:
 14
 15
 16
 17
 18
 19
      Yuga quietly embedded its company’s trademarks, artwork, and products with these
 20
      coded “dog whistles,” drawing from neo-Nazi culture and racist communities within
 21
      forums like 4chan.org/pol/—while simultaneously racking up celebrity endorsements.
 22
            Mr. Ripps brought attention to Yuga’s conduct by creating the satirical NFT
 23
      collection called the “Ryder Ripps Bored Ape Yacht Club” (“RR/BAYC”). Though
 24
      Yuga never brought action against any of the dozens of commercial “ape” NFT
 25
      collections, it did—without warning—bring this action against Mr. Ripps and his
 26
      business partner, Jeremy Cahen. Yuga’s purpose was obvious: to bully Mr. Ripps and
 27
      Mr. Cahen into silence. But this is precisely why anti-SLAPP statutes exist.
 28
                                                 -1-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 10 of 35 Page ID #:1133




  1   II.   BACKGROUND
  2         A.     Mr. Ripps Is a Recognized Artist
  3         Mr. Ripps is a visual artist and creative designer known for creating artwork
  4   that comments on the boundaries between art, the internet, and commerce. Ripps
  5   Decl. ¶ 1. His work examines popular culture and sheds light on how individuals
  6   move through our increasingly digitized world. Id. at ¶ 2. The New York Times has
  7   recognized Mr. Ripps’s contribution to conceptual art, describing him as “An Artist of
  8   the Internet,” and Forbes listed Mr. Ripps in the 2016 class of 30 under 30: Art &
  9   Style. Ex. 3 (“Ryder Ripps: An Artist of the Internet”); Ex. 4 (Forbes 30 Under 30:
 10   Art & Style).
 11         Many important exhibits have showcased Mr. Ripps’s work. For example, in
 12   2015, Mr. Ripps had an exhibition at Postmasters Gallery in New York City—a
 13   gallery well-known for representing artists at the cutting edge of technology. Ex. 5
 14   (Review in The Brooklyn Rail). Mr. Ripps reappropriated Instagram posts from the
 15   model Adrienne Ho and digitally manipulated them with a liquefying photo editing
 16   tool. Id. at 3. Postmasters described the portraits as exposing how we “reflexively
 17   simulate reality online” and have “authenticity manipulated by multiple filters and
 18   amplified by mass circulation.” Ex. 6 (Postmasters Listing) at 1. Mr. Ripps was also
 19   recognized in 2015 as a “bold digital artist and entrepreneur” for remaking the vast
 20   internet in miniature with an installation called Alone Together. Ex. 7 (Review in
 21   Complex) at 1.
 22         In addition to creating fine art, Mr. Ripps has also led creative direction and
 23   design projects for companies like Nike and Red Bull, developed branding for
 24   products such as Soylent meal replacements, worked closely with Kanye West at his
 25   creative agency Donda, and has created art and executed creative direction with many
 26   leading musicians such as Grimes, James Blake, MIA, Pop Smoke, Pusha T, Tame
 27   Impala, and Travis Scott. Ripps. Decl. ¶ 3.
 28
                                                -2-
      Case No. 2:22-cv-04355-JFW-JEM                NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 11 of 35 Page ID #:1134




  1         Conceptual, performance, and appropriation art are among Mr. Ripps’s most
  2   important and popular modes of artistic expression. In 2021, Mr. Ripps used
  3   performance and appropriation art to comment on the purpose and nature of NFTs
  4   (“non-fungible tokens”). An NFT is an entry on a decentralized digital ledger known
  5   as a “blockchain.” Each NFT is unique by design and cannot be copied. But NFTs
  6   also often link to other content, such as images, that are easily copied. A purported
  7   utility of NFTs in art is verifiable provenance that makes it possible to distinguish
  8   original digital works from otherwise perfect duplicates. Mr. Ripps created his own
  9   NFT that linked to a high-resolution version of the image associated with another NFT
 10   (the “CryptoPunk #3100 NFT”). Ex. 8 (“CryptoPunks Get Punked”). One element of
 11   this artwork was to comment on what it means to “own” an NFT—to control a digital
 12   token (data in a blockchain) but not the corresponding digital image. Id. at 2.
 13         B.     Yuga Systematically Embedded Racist Messages and Imagery in Its
                   Trademarks and Products
 14
            Yuga sold a series of 10,000 NFTs known as the Bored Ape Yacht Club
 15
      (“BAYC”). Each BAYC NFT is associated with an image of an anthropomorphized
 16
      ape cartoon. The BAYC collection, related promotional activities, and Yuga’s
 17
      corporate designs are systematically embedded with dog whistles common among
 18
      neo-Nazis, alt-right groups, and racist bulletins within websites like 4chan.org/pol/.
 19
      The presence of this symbolism is too prevalent to be a coincidence.
 20
            As noted earlier, Yuga’s BAYC logo imitates the Nazi SS Totenkopf. The
 21
      BAYC logo simply replaces the human skull and bones with an ape skull and alters
 22
      the text so that it refers to the BAYC collection. Ex. 2 (https://gordongoner.com) at 4.
 23
      Yuga copied all salient features of the Totenkopf in the BAYC logo, including the
 24
      stylization and orientation of the skull, rough edges around the emblem, text and
 25
      image layout, and color scheme. The BAYC logo even copies the 18 teeth in the
 26
      symbol’s skull. The Anti-Defamation League has recognized that “18 is a white
 27
 28
                                                 -3-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 12 of 35 Page ID #:1135




  1   supremacists alphanumeric code for Adolf Hitler” (because A and H are the first the
  2   eighth letters in of the alphabet). Ex. 9 (ADL: Hate Symbol 18).
  3         The founders of Yuga also embedded a neo-Nazi dog whistle in the name of
  4   their company itself. The word “Yuga” references the alt-right phrase “Surf the Kali
  5   Yuga.” Kali Yuga is the age of sin and conflict in Hinduism, and alt-right groups use
  6   the phrase “Surf the Kali Yuga” as an esoteric way of saying enjoy sin and embrace
  7   conflict. Ex. 10 (Neoecofascism: The Example of the United States) at 110; Ex. 11
  8   (“The Secret Histories of the Radical Right on 4chan/pol”) at 8; Ex. 12 (“The Alt-
  9   Right Apocalypse”) at 1-2. High profile neo-Nazis, including white supremacist
 10   Richard Spencer, routinely discuss the “Kali Yuga” and admit that Yuga is “evoking
 11   Nazi iconography.” Ex. 13 (July 31, 2022, 5:54 p.m. Spencer Twitter Post) at 1; Ex.
 12   14 (August 22, 2022, 2:22 p.m. Brennan Twitter Post) at 1; Ex. 15 (Spencer Messages
 13   to Brennan) at 2. Yuga co-founder Wylie Aronow was aware of (and apparently
 14   embraced) this neo-Nazi dog whistle as part of his public Twitter profile, which in
 15   2020 listed “Kali Yuga” as his location. Ex. 16 (“Thousands of Lies: Wylie Aronow
 16   Acknowledges Longtime Friendship with ‘Alt-Right’ Publisher”) at 9; see also id. at
 17   4, 5 (Aronow acknowledging that he is thanked in the book Thousands of Lies, which
 18   “runs rampant with racism, antisemitism, pedophilia, white supremacy, misogyny and
 19   rape fantasies,” for being “instrumental to epiphanies that shape it fundamentally.”).
 20         The “Surf the Kali Yuga” dog whistle is also often used by neo-Nazis
 21   specifically in conjunction with parts of the Totenkopf, as shown in the neo-Nazi shirt:
 22
 23
 24
 25
 26
 27
 28
                                                -4-
      Case No. 2:22-cv-04355-JFW-JEM              NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 13 of 35 Page ID #:1136




  1   Ex. 17 (“Matthew Warner: From GamerGate to Identity Evropa”) at 6; Ex. 18 (Kali
  2   Yuga shirt) at 1. The Totenkopf’s skull and bones depicted on the shirt is one of the
  3   most frequently appearing images on 4chan.org/pol/ bulletins discussing the Kali
  4   Yuga. Ex. 11 at 9. In other words, the company name “Yuga” and the Bored Ape
  5   Yacht Club logo contain corresponding neo-Nazi dog whistles.
  6         The BAYC collection itself also contains obvious racist messaging and
  7   imagery. The NFTs display anthropomorphized apes in an act of simianization—
  8   disparaging ethnic or racial groups by depicting them as apes. Ex. 2 at 2-3. Yuga’s
  9   use of simianization has come under significant public scrutiny. Ex. 19 (Twitter Posts
 10   Compilation). Carla Hill, a senior researcher at the Anti-Defamation League’s Center
 11   for Extremism, has criticized the BAYC’s depiction of apes with hip hop traits and
 12   apes wearing a kamikaze headband. Ex. 20 (“Bored Ape Yacht Club finally responds
 13   to neo-Nazism accusation”) at 6. Below are two NFTs that display these features:
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23   The image on the left (BAYC #3721) depicts a gold jacket and gold chain, which

 24   Yuga refers to as “Hip Hop” clothing, in reference to a popular musical genre and

 25   lifestyle pioneered by African Americans. Ex. 21 (BAYC #3721). The image on the

 26   right (BAYC #6281) depicts a kamikaze headband, which Yuga refers to as a “Sushi

 27   Chef Headband.” Ex. 22 (BAYC #6281).

 28
                                                -5-
      Case No. 2:22-cv-04355-JFW-JEM             NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 14 of 35 Page ID #:1137




  1         The racist dog whistles that Yuga has embedded in BAYC and associated
  2   projects are too numerous to catalog here. For example, Yuga has gone so far as to
  3   create metadata that includes “Stone Hole Jackson” in reference to the confederate
  4   general Stonewall Jackson. Ex. 23 (Otherdeed Metadata Provenance Information).
  5   Yuga later changed the metadata to erase this offensive reference. Id. More examples
  6   can be seen in the YouTube video “The Bored Ape Conspiracy (theory) - A Cultural
  7   Disease” (available at https://www.youtube.com/watch?v=tRPHZQFuT24). But a
  8   key part of Mr. Ripps’s work has been to document them, including at his website
  9   https://gordongoner.com/.
 10         Yuga’s systematic use of racist and neo-Nazi messages and imagery appears to
 11   be by deliberate design, and, by its co-founder’s admission are not “just random.”
 12   Greg Solano, Yuga’s co-founder, stated in an interview that “[i]t’s like Wittgenstein’s
 13   ‘let the unutterable be conveyed unutterably,’ or Hemingway’s iceberg theory. We
 14   knew all about what this world was, and why these apes are this way. And that
 15   somebody else might get a little tingle on their neck looking at it, thinking, ‘Yeah, this
 16   is kind of different. This isn’t just random.’” Ex. 24 (“The Bored Ape Founders
 17   Haven’t Yet Joined the Yacht Club”) at 6 (emphasis added).
 18         C.     Mr. Ripps’s Artistic Project Is a Protest of Yuga’s Dog Whistles
 19         Mr. Ripps created the RR/BAYC project as a critique of Yuga’s use of racist
 20   and neo-Nazi dog whistles. The RR/BAYC project is a collection of NFTs that point
 21   to the same online digital images as the BAYC collection but use verifiably unique
 22   entries on the blockchain. Ripps Decl. ¶ 8. Mr. Ripps’s use of pointers to the same
 23   images is a form of “appropriation art” that serves several purposes: (1) to bring
 24   attention to Yuga’s use of racist and neo-Nazi messages and imagery, (2) to expose
 25   Yuga’s use of unwitting celebrities and popular brands to disseminate offensive
 26   material, (3) to create social pressure demanding that Yuga take responsibility for its
 27   actions, and (4) to educate the public about the technical nature and utility of NFTs.
 28
                                                 -6-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 15 of 35 Page ID #:1138




  1   Ripps Decl. ¶ 8; Ex. 1 (https://rrbayc.com/) at 1; Ex. 25 (May 14, 2022, 9:52 p.m.,
  2   Twitter Archive).
  3         As early as November 2021, Mr. Ripps began exposing Yuga’s misconduct
  4   through his Twitter and Instagram profiles, podcasts, and cooperation with
  5   investigative journalists, and by creating the website https://gordongoner.com. Ripps
  6   Decl. ¶ 5. Mr. Ripps criticized Yuga’s use of neo-Nazi and alt-right dog whistles, and
  7   also spoke about the countless celebrities whom Yuga had promoting its offensive
  8   material including Tom Brady, Kevin Hart, Jimmy Fallon, Shaquille O’Neal, Mark
  9   Cuban, Justin Bieber, Serena Williams, Paris Hilton, LaMelo Ball, Timbaland,
 10   Stephen Curry, Eminem, Madonna, Post Malone, Ben Simmons, Steve Aoki, Neymar
 11   Jr., Gwyneth Paltrow, Snoop Dog, and others. Ex. 26 (“The All-Star owners of the
 12   Bored Ape Yacht Club”) at 2-6.
 13         Mr. Ripps created the RR/BAYC project in connection with his efforts to
 14   expose Yuga’s neo-Nazi and alt-right references. The project began organically, with
 15   Mr. Ripps receiving requests for RR/BAYC NFTs on Twitter from like-minded users
 16   critical of Yuga. Ripps Decl. ¶ 9. Later, Mr. Ripps posted on Twitter that he would
 17   create his satirical NFTs for anyone who requested one for the price of 0.1 Ethereum
 18   (currently roughly $150). Ex. 27 (May 14, 2022, 7:34 p.m., Mr. Ripps Twitter Post).
 19   He explained to his followers that “ryder ripps bayc vision is to create an army of
 20   educators” with respect to Yuga’s connections to neo-Nazi and alt-right culture. Ex.
 21   28 (May 15, 2022, 1:21 a.m., Mr. Ripps Twitter Post).
 22         The RR/BAYC NFTs quickly became popular, and Mr. Ripps eventually set up
 23   the website https://rrbayc.com. Ex. 1. The website ensured that collectors understood
 24   the satirical message of the project and that they were not purchasing a BAYC NFT.
 25   The front page of the website explained that “RR/BAYC uses satire and appropriation
 26   to protest and educate people regarding the Bored Ape Yacht Club and the framework
 27
 28
                                                -7-
      Case No. 2:22-cv-04355-JFW-JEM              NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 16 of 35 Page ID #:1139




  1   of NFTs.” Id. at 1. Mr. Ripps further required each purchaser to adopt the following
  2   disclaimer:
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
      Ripps Decl. ¶ 11. As shown above, the disclaimer required purchasers to
 14
      acknowledge that RR/BAYC NFTs are “a new mint of BAYC imagery,
 15
      recontextualizing it for educational purposes, as protest and satirical commentary[.]”
 16
            Mr. Ripps’s criticism of Yuga has become well-known. Even Yuga’s
 17
      Complaint discusses the criticism Mr. Ripps has made about Yuga, alleging that Mr.
 18
      Ripps has described RR/BAYC as “satire” (Compl. ¶ 5) and has encouraged collectors
 19
      to purchase RR/BAYC NFTs to protest Yuga (Compl. ¶¶ 56, 72, 116). Yuga also
 20
      concedes that Mr. Ripps has conducted “an interview with a popular meme page” to
 21
      discuss Yuga’s use of racist dog whistles. Compl. ¶ 50. The Complaint further
 22
      acknowledges that Mr. Ripps’s message has “reached a significant number of people
 23
      on social media.” Compl. ¶ 51.
 24
            The public protest against Yuga led to the #BURNBAYC movement
 25
      (spearheaded by the popular YouTuber Philion). Social media influencers and
 26
      celebrity YouTubers have been using the #BURNBAYC hashtag, which began
 27
      trending the same week the RR/BAYC collection sold out. Ex. 29 (“Bored Ape Yacht
 28
                                                -8-
      Case No. 2:22-cv-04355-JFW-JEM              NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 17 of 35 Page ID #:1140




  1   Club (BAYC) Propagating NFT Racism?”) at 2; Ex. 30 (“Bored Ape Yacht Club’s
  2   Creators Declared War on a Vocal Critic. Could it Backfire?”) at 5. The question of
  3   whether BAYC is racist has become a “viral debate” and mainstream newspapers
  4   reported that #BURNBAYC is a “public opinion storm” and “too large to ignore.”
  5   Ex. 31 (“Bored Ape Yacht Club Wants Ryder Ripps to Cease and Desist”) at 5; Ex. 32
  6   (“BAYC caught in public opinion storm over Nazi club NFT”) at 1. Ex. 33 (“BAYC
  7   founders call Nazi conspiracy video ‘crazy disinformation campaign’”) at 1. As a
  8   result, Mr. Ripps’s work is today described as being “pretty brilliant from an artistic
  9   point of view.” Ex. 34 (“Yuga Fires Back at #BURNBAYC Creator”) at 4.
 10         D.     Yuga Is Attempting To Silence Mr. Ripps
 11         Yuga has been on a campaign aimed at silencing Mr. Ripps’s artistic expression
 12   and related criticism of Yuga’s connections to neo-Nazi and alt-right culture. For
 13   example, when Mr. Ripps began to speak out about the BAYC collection, Yuga’s
 14   talent manager, Guy Oseary, called Mr. Ripps to make vague threats. Ripps Decl. ¶ 7.
 15   Oseary stated that “I can be a nice guy or I can be a not nice guy” and that he could
 16   make Mr. Ripps’s life hard if he continued to call out Yuga. Id. Oseary also offered
 17   to introduce Mr. Ripps to Kanye West (without realizing that Mr. Ripps had already
 18   worked with West) and added Mr. Ripps to a group text message with West’s
 19   manager. Id. The next week Oseary left a voice memo thanking Mr. Ripps for
 20   remaining silent. Id. But Oseary’s statements only galvanized Mr. Ripps to continue
 21   his criticism of Yuga and eventually to create the RR/BAYC work.
 22         This lawsuit is the latest Yuga attempt to bully Mr. Ripps into silence. There
 23   are dozens of entities that create knock-off ape NFTs that make no artistic or critical
 24   commentary. Ripps Decl. ¶ 15, Ex. 1 (List of NFT Projects). Tellingly, Yuga has not
 25   sued any entities that are intentionally exploiting Yuga’s goodwill. Instead, Yuga has
 26   sued only Mr. Ripps and Mr. Cahen for their successful protest and criticism of
 27   Yuga’s systematic use of racist and neo-Nazi messages and imagery.
 28
                                                 -9-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 18 of 35 Page ID #:1141




  1   III.   LEGAL STANDARD
  2          Rule 12(f) of the Federal Rules of Civil Procedure provides that “[t]he court
  3   may strike from a pleading an insufficient defense or any redundant, immaterial,
  4   impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f).
  5          The California Anti-SLAPP statute explains that Rule 12(f) can “allow for early
  6   dismissal of meritless First Amendment cases aimed at chilling expression through
  7   costly, time-consuming litigation.” Herring Networks, Inc. v. Maddow, 8 F.4th 1148,
  8   1155 (9th Cir. 2021) (internal brackets omitted). The statute provides that a defendant
  9   may strike a complaint if it “‘arises from any act of that person in furtherance of the
 10   person’s right of petition or free speech under the United States or California
 11   Constitution in connection with a public issue.’” Vess v. Ciba-Geigy Corp. USA, 317
 12   F.3d 1097, 1109 (9th Cir. 2003) (quoting Cal. Civ. Proc. Code § 425.16(b)(1)).
 13          Courts grant anti-SLAPP motions to strike at the pleadings stage when (1) the
 14   defendant shows that “an act in furtherance of protected expression is being
 15   challenged” and (2) the plaintiff fails to demonstrate that “the complaint is legally
 16   sufficient.” Planned Parenthood Fed’n of America, Inc. v. Ctr. for Med. Progress,
 17   890 F.3d 828, 833 (9th Cir. 2018).
 18   IV.    ARGUMENT
 19          The Complaint’s state law claims should be stricken under the anti-SLAPP
 20   statute because (1) the accused RR/BAYC project is protected speech made in
 21   connection with a public issue and (2) the Complaint does not allege legally sufficient
 22   facts to support a cause of action. The Complaint, including Yuga’s federal law
 23   claims, should also be dismissed under Rule 12(b)(6) for failure to state a claim.
 24          A.    The RR/BAYC Project Is Protected Speech Made In Connection
                   With A Public Issue
 25
             Anti-SLAPP immunity protects the accused RR/BAYC project because the
 26
      project is performance and appropriation art that expresses criticism against Yuga’s
 27
      use of racist, neo-Nazi, and alt-right dog whistles. Planned Parenthood, 890 F.3d at
 28
                                                -10-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 19 of 35 Page ID #:1142




  1   832-33 (citing Cal. Civ. P. Code. § 425.16(b)(1)) (anti-SLAPP immunity applies to
  2   acts made (1) in furtherance of the constitutional right of free speech and (2) in
  3   connection with a public issue).
  4                i.     Mr. Ripps Created The RR/BAYC Project In Furtherance of
                          His Constitutional Right of Free Speech
  5
            The First Amendment protects expressive works, and an artwork is expressive
  6
      if it is “communicating ideas or expressing points of view.” VIP Prods. LLC v. Jack
  7
      Daniel’s Props., Inc., 953 F.3d 1170, 1174 (9th Cir. 2020) (citing Mattel, Inc. v. MCA
  8
      Records, 296 F.3d 894, 900 (9th Cir. 2002)). As explained below, the RR/BAYC
  9
      project abundantly communicates protest and criticism of Yuga’s references to racist
 10
      and neo-Nazi themes.
 11
            Mr. Ripps created the RR/BAYC project with the specific aim of publicizing
 12
      how Yuga’s founders have embedded Yuga and the BAYC collection with racist and
 13
      neo-Nazi dog whistles. Ripps Decl. ¶ 8. Before launching the RR/BAYC project, Mr.
 14
      Ripps used his Twitter and Instagram profiles to expose Yuga. Ripps Decl. ¶ 5. Mr.
 15
      Ripps also released the website https://gordongoner.com to document Yuga’s
 16
      references to neo-Nazi and alt-right culture. Id.
 17
            The RR/BAYC project elevated Mr. Ripps’s criticism of Yuga. Collectors
 18
      commissioned RR/BAYC NFTs as an act of protest against Yuga and to form a
 19
      community that advances Mr. Ripps’s messages regarding Yuga’s use of racist dog
 20
      whistles. Ripps Decl. ¶ 9. As Mr. Ripps explained on the website that sold his NFTs
 21
      (https://rrbayc.com), “RR/BAYC uses satire and appropriation to protest and educate
 22
      people regarding The Bored Ape Yacht Club and the framework of NFTs.” Ex. 1 at 1.
 23
      Mr. Ripps also ensured that collectors understood the satirical messages of his NFTs
 24
      by requiring every purchaser to sign a disclaimer acknowledging that the RR/BAYC
 25
      NFTs are “a new mint of BAYC imagery, recontextualizing it for educational
 26
      purposes, as protest and satirical commentary.” Ripps Decl. ¶ 11.
 27
 28
                                                -11-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 20 of 35 Page ID #:1143




  1         The ideas that the RR/BAYC project expressed quickly gained notoriety. Mr.
  2   Ripps’s NFTs sold out within weeks and, as Yuga admits in the Complaint, Mr.
  3   Ripps’s message “reached a significant number of people.” Compl. ¶ 51; Ripps Decl.
  4   at 10. The public protest against Yuga eventually led to the #BURNBAYC
  5   movement, which demands that Yuga be held accountable for its offensive and racist
  6   behavior. Ex. 29 at 2; Ex. 32 at 2. For these reasons, the RR/BAYC project has been
  7   described as “pretty brilliant from an artistic point of view.” Ex. 34 at 4.
  8                ii.    The RR/BAYC Project Communicates Ideas In Connection
                          With A Public Issue
  9
            A work is connected to a public issue if it involves (1) statements “concerning a
 10
      person or entity in the public eye,” (2) “conduct that could directly affect a large
 11
      number of people beyond the direct participants,” or (3) “a topic of widespread public
 12
      interest.” Hilton v. Hallmark Cards, 599 F.3d 894, 906 (9th Cir. 2010). The
 13
      RR/BAYC project is connected to a public issue for all three of these reasons.
 14
            First, RR/BAYC NFTs express commentary about an entity (Yuga) that is in
 15
      the “public eye.” Yuga is a $4 billion corporation that publicly sells NFTs and
 16
      various related services. Compl. ¶ 20. Moreover, according to the Complaint, Yuga’s
 17
      BAYC collection has received “significant attention from the media” and “has
 18
      generated massive public interest.” Compl. ¶¶1, 19, 20
 19
            Second, Yuga’s coded racism and neo-Nazi messages affect a large number of
 20
      people beyond Yuga, Mr. Ripps, and Mr. Cahen. Yuga has enlisted celebrities to
 21
      promote BAYC and its racist imagery including Tom Brady, Madonna, Kevin Hart,
 22
      Jimmy Fallon, Shaquille O’Neal, Mark Cuban, Justin Bieber, Stephen Curry,
 23
      Eminem, Serena Williams, Steve Aoki, LaMelo Ball, Snoop Dog, and others. Ex. 26
 24
      at 2-6; Compl. at ¶ 21. Yuga’s BAYC has also worked with major brands including
 25
      Adidas, Universal Music Group, Arizona Iced Tea, Gucci, Major League Soccer, and
 26
      Old Navy. Compl. at ¶ 22; Ripps Decl. ¶ 6. These public endorsements show that
 27
      BAYC NFTs are affecting society at large, including American mainstream culture.
 28
                                                 -12-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 21 of 35 Page ID #:1144




  1         Third, Yuga’s connection to neo-Nazi and alt-right culture is a topic of
  2   widespread public interest. Yuga’s use of racist messages and imagery has been
  3   repeatedly criticized publicly. Ex. 19. Activists, including some celebrities and social
  4   media influencers, are standing up against Yuga and participating in the
  5   #BURNBAYC movement. Ex. 29 at 1. Newspapers have commented on these
  6   events, reporting that there is now a “public opinion storm” surrounding Yuga and
  7   that #BURNBAYC has become “too large to ignore.” Ex. 32 at 1; Ex. 33 at 1.
  8         B.     The Complaint Does Not Support A Plausible Cause of Action
  9         The Complaint is legally insufficient because Yuga has not alleged a plausible
 10   cause of action. Planned Parenthood, 890 F.3d at 832-33 (citing Cal. Civ. P. Code
 11   § 425.16(b)(1)) (holding the second step of anti-SLAPP requires plaintiffs to show
 12   that the complaint is legally sufficient).
 13                i.     Yuga’s Trademark Infringement Claims Are Legally
                          Insufficient Under the Rogers Free Speech Test (Claims 4-7)
 14
            Under the Rogers test that insulates artistic free speech from claims of
 15
      trademark infringement, trademark claims are actionable only if the accused use of a
 16
      trademark is “(1) not artistically relevant to the underlying work or (2) explicitly
 17
      misleads consumers as to the source of the content of the work.” Dr. Suess Enters.,
 18
      L.P. v. ComicMix LLC, 983 F.3d 443, 462 (9th Cir. 2020). The Rogers test applies to
 19
      all of Yuga’s trademark infringement causes of action. Twentieth Century Fox
 20
      Television a division of Twentieth Century Fox Film Corp. v. Empire Distrib. Corp.,
 21
      875 F.3d 1192, 1195-99 (9th Cir. 2017) (applying Rogers test to false designation of
 22
      origin, unfair competition, and false advertising under the Lanham Act and California
 23
      Law); Dr. Suess Enters., 983 F.3d at 461 (Rogers test applies to common law
 24
      trademark infringement); see Calista Enters. Ltd. v. Tenza Trading Ltd., 43 F. Supp.
 25
      3d 1099, 1031 (9th Cir. 2014) (holding that cybersquatting claims require likelihood
 26
      of confusion); E.S.S. Ent. 200, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095, 1098,
 27
      1101 (9th Cir. 2008) (applying Rogers test to trademark infringement and unfair
 28
                                                   -13-
      Case No. 2:22-cv-04355-JFW-JEM                 NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 22 of 35 Page ID #:1145




  1   competition under Cal. Bus. & Pro. Code and California common law). As explained
  2   below, Yuga has failed to plausibly allege both prongs of the Rogers test.
  3         First, Yuga has conceded in its Complaint that the BAYC marks are artistically
  4   relevant to the RR/BAYC project. The Rogers test requires that “the level of
  5   relevance must merely be above zero[.]” Gordon v. Drape Creative, Inc, 909 F.3d
  6   257, 268 (9th Cir. 2018) (citation and quotation marks omitted). The allegations in
  7   the Complaint satisfy the “above zero” threshold because they include Mr. Ripps’s
  8   explanation that his project uses BAYC marks in his conceptual appropriation art as a
  9   “provocation” that serves “to illuminate what nfts are and show bayc for what it really
 10   is.” Compl. ¶ 57. Yuga also alleged that Mr. Ripps sold RR/BAYC NFTs so
 11   collectors can protest Yuga’s racist references. Compl. ¶¶ 72, 116. Yuga even
 12   alleged that Mr. Ripps promoted his project with the statement, “LONG LIVE
 13   CONCEPTUAL ART.” Compl. ¶ 57. The Complaint also incorporates by reference
 14   https://rrbayc.com by repeatedly referencing, discussing, and including hyperlinks to
 15   that webpage.1 Compl. ¶¶ 34, 36, 48, 81. The webpage explains that “RR/BAYC
 16   uses satire and appropriation to protest and educate people regarding The Bored Ape
 17   Yacht Club and the framework of NFTs” and that “[t]he work is an extension of and
 18   in the spirit of other artists who have worked within the field of appropriation art.”
 19   Ex. 1 at 1 (emphasis removed). These allegations in the Complaint go well beyond
 20   the “above zero” relevance requirement because they make clear that the RR/BAYC
 21
 22
 23   1
        A complaint incorporates by reference documents that it discusses, repeatedly
      references, or includes via hyperlink. Khoja v. Orexigen Therapeutics, Inc., 899 F.3d
 24
      988, 1007 (9th Cir. 2018) (affirming incorporation by reference of a document
 25   repeatedly referenced in the complaint); United States v. Ritchie, 342 F.3d 903, 908
 26   (9th Cir. 2003) (“Even if a document is not attached to a complaint, it may be
      incorporated by reference into a complaint”); Battle v. Taylor James, LLC, No. 21-cv-
 27   07915-FWS-KES, 2022 WL 2162930, at *6 (C.D. Cal. June 15, 2022) (holding that a
 28   hyperlink in a complaint incorporated the linked document).
                                                 -14-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 23 of 35 Page ID #:1146




  1   project uses the asserted trademarks to express criticism of Yuga’s use of racist dog
  2   whistles. Compl. ¶¶ 34, 36, 48, 57, 72, 81, 116.
  3         Second, Yuga has failed to allege (and cannot allege) that Mr. Ripps explicitly
  4   misled consumers as to the source of RR/BAYC NFTs. Gordon, 909 F.3d at 269
  5   (“the key here is that the creator must explicitly mislead consumers[.]”). To the
  6   contrary, Yuga repeatedly alleged that Mr. Ripps publicly communicated that
  7   RR/BAYC NFTs are not Yuga products. The Complaint in fact alleges statements
  8   that RR/BAYC NFTs are intended to “show bayc for what it really is” and allow
  9   collectors to protest Yuga and “say fuck off to @BoredApeYC!” Compl. ¶¶ 57, 72,
 10   116. According to these allegations, Mr. Ripps did not publicize the RR/BAYC NFTs
 11   as Yuga products but instead as the antithesis to Yuga and its offensive BAYC
 12   collection. The incorporated website, https://rrbayc.com, similarly shows that Mr.
 13   Ripps did not explicitly mislead consumers. Compl. ¶ 57. The website explains that
 14   Mr. Ripps was the creator of RR/BAYC NFTs and that the project uses “satire and
 15   appropriation” to criticize Yuga’s BAYC collection. Ex. 1 at 1. The website also
 16   required each purchaser to sign a disclaimer acknowledging that Yuga did not create
 17   RR/BAYC NFTs. Thus, Yuga itself has alleged that Mr. Ripps took extensive steps to
 18   ensure that collectors understood the correct origin of RR/BAYC NFTs.
 19         The Complaint also repeatedly alleges facts showing that RR/BAYC NFTs
 20   were differentiated from Yuga’s NFTs in the marketplace. For example, the OpenSea
 21   marketplace images in paragraph 33 show that Mr. Ripps’s NFTs were labeled as part
 22   of the “RR/BAYC” collection and not the “Bored Ape Yacht Club” collection:
 23
 24
 25
 26
 27
 28
                                               -15-
      Case No. 2:22-cv-04355-JFW-JEM              NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 24 of 35 Page ID #:1147




  1   Compl. ¶ 33. Paragraph 34 alleges that Mr. Ripps repeatedly used “RR/BAYC” in
  2   connection with his website https://rrbayc.com, where “RR” denoted “Ryder Ripps” to
  3   distinguish from Yuga’s NFTs. Compl. ¶ 34. Paragraph 37 alleges that the
  4   Foundation page contained differentiating features including the RR/BAYC satirical
  5   logo and identifying “Ryder Ripps” as the creator:
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15   Compl. ¶ 37. The corresponding Foundation NFT image in paragraph 38 minimizes
 16   the image so that the logo and its slogan “THIS LOGO IS BASED ON THE SS
 17   TOTENKOPF” does not appear clearly in the Complaint. Compl. ¶ 38. And in
 18   paragraph 39, the Complaint discusses, hyperlinks, and incorporates by reference the
 19   Etherscan page: https://etherscan.io/address/0x2ee6af0dff3a1ce3f7e3414c52c48fd50d
 20   73691e to allege that Defendants created misleading token trackers. Compl. ¶ 39.
 21   However, the page clearly and expressly identifies Mr. Ripps—not Yuga—as the
 22   token creator:
 23
 24
 25
 26
 27
 28
                                               -16-
      Case No. 2:22-cv-04355-JFW-JEM             NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 25 of 35 Page ID #:1148




  1         Yuga’s allegations in relation to the Twitter pages @RR_BAYC and
  2   @BOREDAPEV3 similarly fail to allege explicitly misleading acts. The Complaint
  3   alleges no facts connecting Defendants to these accounts—which is no surprise
  4   because Defendants actually have nothing to do with these Twitter pages. Compl. ¶¶
  5   42, 44. The image in paragraph 42 of the Complaint even confirms the @RR_BAYC
  6   is “[c]ommunity ran.” Compl. ¶ 42.
  7         Lastly, Yuga fails to allege any explicitly misleading acts with regards to the
  8   website https://apemarket.com/. The Complaint does not allege that Yuga has any
  9   trademark in “Ape Market” with or without a skull logo. Further, the hyperlinked and
 10   thereby incorporated page shows that the alleged “apemarket.com” website is not yet
 11   operating and has never had any content, let alone any misleading content. Compl. ¶
 12   46; Ex. 35 (ApeMarket Webpage).
 13         In sum, the Complaint consistently alleges that Mr. Ripps differentiated the
 14   RR/BAYC project from Yuga’s NFTs. That is the opposite of the “explicitly
 15   misleading” use that Rogers requires. Thus, under the Rogers test, Yuga’s allegations
 16   render its trademark infringement claims legally insufficient.
 17                ii.   Yuga’s Trademark Infringement Claims Based on the
                         RR/BAYC Project also Fail Because Use of Yuga’s Alleged
 18
                         Marks Is Nominative Fair Use (Claims 4-7)
 19         Yuga’s Complaint also alleges facts demonstrating that the alleged use of
 20   Yuga’s marks qualifies as protected nominative fair use. A defendant’s use of a mark
 21   is protected nominative fair use when (1) the plaintiff’s product or service in question
 22   is not readily identifiable without use of the trademark; (2) only so much of the mark
 23   or marks is used as is reasonably necessary to identify the plaintiff’s product or
 24   service; and (3) the user does nothing that would, in conjunction with the mark,
 25   suggest sponsorship or endorsement by the trademark holder. Mattel Inc. v. Walking
 26   Mountain Prods., 353 F.3d 792, 810 (9th Cir. 2003) (quoting New Kids on the Block
 27   v. News America Pub. Inc., 971 F.2d 302, 308 (9th Cir. 1992)). Nominative fair use is
 28
                                                -17-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 26 of 35 Page ID #:1149




  1   applicable to and defeats all of Yuga’s trademark infringement causes of action.
  2   Applied Underwriters, Inc. v. Lichtenegger, 913 F.3d 884, 889, 893-98 (9th Cir. 2019)
  3   (applying nominative fair use to false designation of origin and unfair competition
  4   claims under the Lanham Act and unfair competition under California common law);
  5   Adobe Sys. Inc. v. Christenson, 809 F.3d 1071, 1081 (9th Cir. 2015) (applying
  6   nominative fair use to a federal false advertising claim); New Kids on the Block, 971
  7   F.2d at 305-09 (applying nominative fair use to common law trademark infringement
  8   and false advertising under California law); BMW of N. America v. Mini Works, LLC,
  9   463 Fed. App’x. 689 (Fed. Cir. 2011) (nonprecedential) (applying nominative fair use
 10   to cybersquatting, but holding that defendant failed to show fair use).
 11         First, Mr. Ripps’s appropriation art project would not be readily identifiable, or
 12   even possible, without using Yuga’s marks to conjure up the BAYC collection—the
 13   subject of Mr. Ripps’s critique. As discussed above, the Complaint includes Mr.
 14   Ripps’s explanation that his project uses BAYC marks in his conceptual appropriation
 15   art as a “provocation” that serves to “show bayc for what it really is.” Compl. ¶ 57.
 16   Mr. Ripps’s “needed to communicate” to his audience that the RR/BAYC project
 17   critiques Yuga and, in particular, its BAYC collection, and “so using the mark in the
 18   title and description of the program ‘accomplished this goal.’” Applied Underwriters,
 19   913 F.3d at 894 (quoting Toyota Motor Sales v. Tabari, 610 F.3d 1171, 1180 (9th Cir.
 20   2010)). Courts have routinely determined that a descriptive alternative need not be
 21   employed where, as here, the use of a mark is necessary to refer to a specific brand or
 22   product. Applied Underwriters, Inc. 913 F.3d at 893-94.
 23         Second, Mr. Ripps’s used BAYC’s marks only to the extent reasonably
 24   necessary. The RR/BAYC project is a satirical work that uses unique and identifiable
 25   NFTs that point to the same online digital images associated with the BAYC
 26   collection. Compl. ¶ 57; Ex. 1 at 1. Thus, the nature of Mr. Ripps’s performance and
 27   appropriation art project requires use of Yuga’s marks in the digital images to which
 28
                                                -18-
      Case No. 2:22-cv-04355-JFW-JEM              NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 27 of 35 Page ID #:1150




  1   his NFTs point, and in the title of the collection, to accomplish the use of satire to
  2   criticize Yuga. Applied Underwriters, 913 F.3d at 895 (“The second New Kids factor
  3   does not implicate the number of uses of a mark, but rather the nature of the uses.”).
  4   Moreover, because the RR/BAYC project depends on using descriptions of Yuga and
  5   its BAYC collection, more use of Yuga’s marks is reasonably necessary. See Cairns
  6   v. Franklin Mint Co., 292 F.3d 1139, 1154 (9th Cir. 2002) (“Where … the description
  7   of defendant’s product depends on the description of the plaintiff’s product, more use
  8   of the plaintiff’s trademark is ‘reasonably necessary to identify the plaintiff’s product’
  9   than in cases where the description of the defendant’s product does not depend on the
 10   description of the plaintiff’s product.”).
 11         Third, Mr. Ripps’s has done nothing to suggest sponsorship or endorsement by
 12   Yuga. The goal of a nominative use is typically for the “purposes of comparison,
 13   criticism [or] point of reference.” Mattel Inc. 353 F.3d at 809. As detailed above, Mr.
 14   Ripps has been clear that RR/BAYC serves this goal by using the asserted marks to
 15   criticize Yuga’s use of racist and neo-Nazi dog whistles. The Complaint alleges that
 16   RR/BAYC NFTs are intended to “show bayc for what it really is” and allow collectors
 17   to protest Yuga and “say fuck off to @BoredApeYC!” Compl. ¶¶ 57, 72, 116.
 18   Generally, one does not urge its audience to tell a sponsor to “fuck off.” These
 19   allegations in the Complaint preclude any suggestion that Yuga sponsors or endorses
 20   the RR/BAYC project because they show that the content of RR/BAYC is replete with
 21   critical statements about Yuga and the BAYC collection. See New Kids on the Block,
 22   971 F.2d at 308–09 (“[N]othing in the announcements suggests joint sponsorship or
 23   endorsement by the New Kids. The USA Today announcement implies quite the
 24   contrary by asking whether the New Kids might be ‘a turn off.’”)
 25         Further, although “[t]his element does not require that the defendant make an
 26   affirmative statement that their product is not sponsored by the plaintiff” (Mattel Inc.
 27   353 F.3d at 811), Mr. Ripps has repeatedly done so. As explained above, Yuga has
 28
                                                   -19-
      Case No. 2:22-cv-04355-JFW-JEM                 NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 28 of 35 Page ID #:1151




  1   extensively alleged that Mr. Ripps made clear that he created the RR/BAYC NFTs as
  2   satirical art directed at criticizing Yuga. Compl. ¶¶ 57, 72, 116. Moreover, the
  3   Complaint incorporates by reference the RR/BAYC website in which Mr. Ripps
  4   further explains that the RR/BAYC project is satirical and required every purchaser of
  5   an RR/BAYC NFT to sign a disclaimer acknowledging that Mr. Ripps was the
  6   creator, not Yuga. Compl. ¶¶ 34, 36, 48, 81. Based on these allegations regarding the
  7   critical nature of the RR/BAYC, the content on the RR/BAYC website, and Mr.
  8   Ripps’s repeated criticism of BAYC in RR/BAYC-related communications, Yuga has
  9   failed to plausibly alleged that a “reasonably prudent consumer” in the relevant
 10   marketplace (Toyota Motor Sales, 610 F.3d at 1176) could have interpreted
 11   RR/BAYC as being endorsed or sponsored by Yuga.
 12         In sum, the Complaint contains only conclusory allegations of consumer
 13   confusion that are belied by the critical nature of the RR/BAYC project as described
 14   in the Complaint. These allegations of Mr. Ripps’s use of the asserted marks, when
 15   considered in the light most favorable to Yuga, is protected nominative fair use.
 16   Accordingly, Yuga has failed to allege legally sufficient facts for its trademark
 17   infringement causes of action.
 18                iii.   Yuga Did Not Allege a Misleading Representation of Fact in
                          Support of Its False Advertising Claims (Claim 7)
 19
            Yuga’s false advertising claims are legally insufficient, in addition to their
 20
      deficiencies under the Rogers test and nominative fair use, for failure to allege
 21
      advertising that is “misleading or which has a capacity, likelihood or tendency to
 22
      deceive or confuse the public.” Moore v. Mars Petcare US, Inc., 966 F.3d 1007, 1017
 23
      (9th Cir. 2020); Prager Univ. v. Google LLC, 951 F.3d 991, 999 (9th Cir. 2020)
 24
      (Under the Lanham Act, false advertising must include a “false or misleading
 25
      representation of fact.”). The Complaint does not provide a single example of a
 26
      misleading statement and instead merely concludes that Defendants advertised that
 27
      “RR/BAYC NFTs are equivalent to authentic Bored Ape NFTs.” Compl. ¶¶ 72, 116.
 28
                                                -20-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 29 of 35 Page ID #:1152




  1   To support this conclusion, the Complaint alleges the statement “To CLARIFY …
  2   how the website http://rrbayc.com works. You reserve an ape which you can choose.
  3   @ryder_ripps will then mint it for you when he is able to. Then it will get transferred
  4   to your wallet Then you can say fuck off to @BoredApeYC!” Compl. ¶¶ 72, 116.
  5   But this statement distinguishes RR/BAYC NFTs from Bored Ape NFTs by
  6   clarifying that Mr. Ripps is the creator, not Yuga. The Complaint also alleges that Mr.
  7   Ripps posted, “Looking at @ApeMarketplace and saying fuck you to @BoredApeYC
  8   who’s with me?” Compl. ¶¶ 72, 116. This likewise is not and cannot be alleged to be
  9   misleading: it expresses that the RR/BAYC project is a protest against Yuga.
 10   Moreover, as explained above, Yuga extensively pleaded that Mr. Ripps promoted the
 11   RR/BAYC project as distinct and antithetical to Yuga’s NFTs, including on the
 12   RR/BAYC website and the disclaimer that every purchaser was required to sign.
 13   Compl. ¶¶ 48, 53, 56, 57, 72, 116; Ex. 1 at 1.
 14                iv.   Yuga Has Failed To Plausibly Allege Unjust Enrichment
                         (Claim 8)
 15
            Yuga’s unjust enrichment claim is legally insufficient because (1) Yuga has not
 16
      plausibly alleged unjust retention of a benefit and (2) the First Amendment precludes
 17
      Yuga’s unjust enrichment claim.
 18
            First, unjust enrichment requires the “unjust retention of the benefit at the
 19
      expense of another.” Travelers Cas. Ins. Co. of America v. Hirsh, 831 F.3d 1179,
 20
      1182 (9th Cir. 2016). Yuga’s allegation of “unjust retention” is based on Mr. Ripps’s
 21
      use of “BAYC Marks without authorization.” Compl. ¶ 126. However, as explained
 22
      in Sections IV.B.i-ii, Yuga has not plausibly alleged trademark infringement and
 23
      therefore has also failed to plausibly allege unjust enrichment. See Mattel, Inc. v.
 24
      MCA Recs., Inc., 28 F. Supp. 2d 1120, 1157 (C.D. Cal. 1998), aff'd, 296 F.3d 894 (9th
 25
      Cir. 2002) (holding that defendants’ unjust enrichment claim failed where “defendants
 26
      did not infringe or dilute plaintiff’s trademark .…”).
 27
 28
                                                -21-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 30 of 35 Page ID #:1153




  1         Second, under California Law, Yuga cannot claim unjust enrichment based on
  2   Mr. Ripps’s exercise of his First Amendment rights. See McBride v. Boughton, 123
  3   Cal. App. 4th 379, 387–88, 20 Cal. Rptr. 3d 115, 122 (2004) (explaining that unjust
  4   enrichment claims are denied “where application of the doctrine would involve a
  5   violation or frustration of the law or opposition to public policy”). The RR/BAYC
  6   project is a satirical artistic work protected under the First Amendment right of free
  7   speech. See supra-Sections IV.A, B.i-ii. Requiring Mr. Ripps to pay restitution under
  8   an unjust enrichment theory for profits received from the RR/BAYC project would
  9   frustrate the strong public policy in favor of First Amendment protections. See
 10   Mattel, Inc. v. MCA Recs., Inc., 28 F. Supp. 2d 1120, 1157 (C.D. Cal. 1998), aff’d,
 11   296 F.3d 894 (9th Cir. 2002) (denying unjust enrichment claim where “defendants
 12   have a strong… First Amendment interest in parodying a popular brand name .…”).
 13                v.     Yuga Has Failed To Plausibly Allege Conversion (Claim 9)
 14         Yuga’s claim for conversion is legally insufficient because (1) Yuga has failed
 15   to allege wrongful disposition of a property and (2) the tort of conversion does not
 16   extend to trademarks in any event.
 17         First, to state a claim for conversion, Yuga must allege “right to possession of
 18   property” and “wrongful disposition of the property right[.]” Kremen v. Cohen, 337
 19   F.3d 1024, 1029 (9th Cir. 2003) (internal quotation omitted). Yuga alleges “wrongful
 20   disposition” by stating that Defendants “substantially interfered with Yuga’s
 21   ownership and rights in these marks.” Compl. ¶¶ 132-133. However, because Yuga
 22   has not plausibly alleged trademark infringement, Yuga’s has also failed to plausibly
 23   allege wrongful disposition of property via any such trademark infringement.
 24         Second, courts have repeatedly declined to extend conversion to trademarks.
 25   See Meeker v. Meeker, No. C 02-00741 JSW, 2004 WL 2554452, at *6 (N.D. Cal.
 26   Nov. 10, 2004) (holding that “a claim for conversion should not be extended to reach
 27   the intangible intellectual property rights in a trademark”); Innospan Corp. v. Intuit,
 28
                                                -22-
      Case No. 2:22-cv-04355-JFW-JEM               NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 31 of 35 Page ID #:1154




  1   Inc., No. C 10-04422 WHA, 2010 WL 5017014, at *2 (N.D. Cal. Dec. 3, 2010)
  2   (“Plaintiff’s complaint also alleges a claim for trade infringement under the Lanham
  3   Act. That claim is the appropriate legal avenue for trademark infringement, not
  4   conversion”); Tethys Bioscience, Inc. v. Mintz, et al., No. 09–5115, 2010 WL
  5   2287474, at *7 (N.D. Cal. June 4, 2010) (explaining that “California cases addressing
  6   the application of the conversion tort to intangible property have suggested that this
  7   theory should not be expanded to displace other, more suitable law”). As in those
  8   cases, the appropriate avenue for Yuga to remedy any supposed “conversion” would
  9   be its (baseless) trademark claims.
 10                vi.   Yuga Failed to Plausibly Allege Intentional Interference with
                         Prospective Economic Advantage (Claim 10)
 11
            Yuga’s intentional interference claim is legally insufficient because Yuga has
 12
      not plausibly alleged (1) an independently wrongful act or (2) specific examples of
 13
      actual disruption to an economic relationship.
 14
            First, to state a claim for intentional interference with prospective economic
 15
      advantage, Yuga must plead that the defendant engaged in an independently
 16
      “wrongful” act as defined by some constitutional, statutory, regulatory, or other
 17
      determinable legal standard. Marin Tug & Barge, Inc. v. Westport Petroleum, Inc.,
 18
      271 F.3d 825, 831 (9th Cir. 2001). Yuga alleges that Defendants engaged in an
 19
      independently wrongful act by infringing Yuga’s trademarks. Compl. ¶ 144. Again,
 20
      these allegations cannot serve as the independently wrongful act because, for the
 21
      reasons stated above, Yuga has not plausibly alleged trademark infringement.
 22
            Second, Yuga has failed to allege a specific economic relationship that
 23
      Defendants disrupted. See Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th
 24
      1134, 1153 (2003) (holding that intentional interference requires alleging specific
 25
      examples of disruption). Yuga merely alleged that “[a]n economic relationship
 26
      existed between Yuga Labs and individuals who have purchased Bored APE NFTs”
 27
      and that “prior purchasers of Bored Apes ‘dumped’ Yuga Labs NFTs in favor of …
 28
                                                -23-
      Case No. 2:22-cv-04355-JFW-JEM              NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 32 of 35 Page ID #:1155




  1   RR/BAYC NFTs.” Compl. ¶¶ 141, 145. These allegations rely on an impermissible
  2   “market theory” of liability suggesting that Defendants disrupted Yuga relationship
  3   with the entire market of BAYC purchasers. Sybersound Records, Inc. v. UAV Corp.,
  4   517 F.3d 1137, 1151 (9th Cir. 2008) (affirming dismissal of intentional interference
  5   claim when plaintiff merely alleged that “ongoing business and economic
  6   relationships with Customers have been disrupted.”).
  7                vii.   Yuga Has Not Plausibly Alleged Negligent Interference With
                          Prospective Economic Advantage (Claim 11)
  8
            Yuga’s negligent interference claim is also legally insufficient because Yuga
  9
      has failed to allege (1) unreasonable conduct, (2) examples of any prospective or
 10
      preexisting business relationships or (3) that Defendants owed a duty of care.
 11
            First, Yuga’s negligent interference claim relies on its trademark infringement
 12
      allegations. Compl. ¶ 156; see Nat’l Med. Transp. Network v. Deloitte & Touche, 72
 13
      Cal. Rptr. 2d 720, 736 (1998) (negligent interference requires an “independently
 14
      wrongful” act). Again, Yuga failed to plausibly allege trademark infringement, which
 15
      renders Yuga’s negligent interference claim legally insufficient.
 16
            Second, to state a claim for negligent interference, Yuga must allege “an
 17
      economic relationship between the plaintiff and some third party, with the probability
 18
      of future economic benefit to the plaintiff.” Denims v. Ram Imports, Inc, No. CV 20-
 19
      0254 DSF (JCx), 2021 WL 4814995, at *3 (C.D. Cal. Mar. 5, 2021) (citing
 20
      Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137, 1151 (9th Cir. 2008)). Here,
 21
      Yuga once again states in a general conclusory manner an existing business
 22
      relationship with customers that “purchased Bored Ape NFTs.” Compl. ¶¶ 152, 157.
 23
      The law is clear that these kinds of conclusory “market theory” allegations cannot
 24
      support a negligent interference claim. Denims, 2021 WL 4814995, at *3 (citing
 25
      Westside Ctr. Assocs. v. Safeway Stores 23, Inc., 42 Cal. App. 4th 507, 527 (1996)).
 26
            Third, Yuga failed to plead that Defendants owed a duty of care to Yuga. See
 27
      J’Aire Corp. v. Gregory, 24 Cal. 3d 799, 803, 598 P.2d 60 (1979) (negligent
 28
                                                -24-
      Case No. 2:22-cv-04355-JFW-JEM              NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 33 of 35 Page ID #:1156




  1   interference requires duty of care); Hsu v. OZ Optics Ltd., 211 F.R.D. 615, 621 (N.D.
  2   Cal. 2002) (same). Yuga has alleged that Defendants are Yuga “competitors in the
  3   market for NFTs.” Compl. ¶¶ 66, 150. This allegation precludes Yuga from plausibly
  4   alleging negligent interference because there cannot be a duty of care between
  5   competitors. See Stolz v. Wong Comms. LP, 25 Cal. App. 4th 1811, 1825, 31 Cal.
  6   Rptr. 2d 229 (1994) (“The complaint did not allege such a duty, nor could it, since it
  7   was plain that plaintiff and defendants were competitors.”).
  8         C.     Dismissal Under Rule 12(b)(6)
  9         Yuga’s Complaint is subject to dismissal for failure to state a claim based on
 10   the reasons provided above in Section IV.B. The test for legal sufficiency under the
 11   anti-SLAPP statute involves the same analysis as dismissing a cause of action for
 12   failure to state a claim. Planned Parenthood, 890 F.3d at 834 (“If a defendant makes
 13   a special motion to strike based on alleged deficiencies in the plaintiff's complaint, the
 14   motion must be treated in the same manner as a motion under Rule 12(b)(6)[.]”).
 15   Accordingly, Yuga’s federal trademark infringement claims (Claims 1-3) should be
 16   dismissed for the reasons provided Sections IV.B.i-iii because, as explained above, the
 17   arguments provided in those sections apply equally to Yuga’s federal law claims.
 18   Yuga has also failed to plausibly plead its state law claims (Claims 4-11) for the
 19   reasons provided in Sections IV.B.i-vii.
 20   V.    CONCLUSION
 21         For the reasons set forth above, Mr. Ripps and Mr. Cahen respectfully request
 22   that the Court strike Claims 4-11 in Yuga’s Complaint and award Mr. Ripps and Mr.
 23   Cahen their fees and costs pursuant to Cal. Civ. Proc. Code. § 425.16(c) and dismiss
 24   Claims 1-3 pursuant to Rule 12(b)(6), or in the alternative, dismiss Yuga’s Complaint
 25   pursuant to Rule 12(b)(6) in its entirety.
 26
 27
 28
                                                   -25-
      Case No. 2:22-cv-04355-JFW-JEM                 NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 34 of 35 Page ID #:1157




  1   Dated: October 3, 2022             By: /s/ Louis W. Tompros
  2                                          Louis W. Tompros (pro hac vice)
                                             louis.tompros@wilmerhale.com
  3                                          Monica Grewal (pro hac vice)
                                             monica.grewal@wilmerhale.com
  4                                          Scott W. Bertulli (pro hac vice)
                                             scott.bertulli@wilmerhale.com
  5                                          WILMER CUTLER PICKERING
                                               HALE AND DORR LLP
  6                                          60 State Street
                                             Boston, MA 02109
  7                                          Telephone: (617) 526-6000
                                             Fax: (617) 526-5000
  8
                                             Henry Nikogosyan (SBN 326277)
  9                                          henry.nikogosyan@wilmerhale.com
                                             WILMER CUTLER PICKERING
 10                                           HALE AND DORR LLP
                                             350 South Grand Ave., Suite 2400
 11                                          Los Angeles, CA 90071
                                             Telephone: (213) 443-5300
 12                                          Fax: (213) 443-5400
 13                                          Attorneys for Defendants
                                             Ryder Ripps and Jeremy Cahen
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           -26-
      Case No. 2:22-cv-04355-JFW-JEM         NOTICE OF MOTION; MOTION TO STRIKE
Case 2:22-cv-04355-JFW-JEM Document 48 Filed 10/03/22 Page 35 of 35 Page ID #:1158




  1                             CERTIFICATE OF SERVICE
  2         I hereby certify that a copy of the foregoing document was served on all
  3   attorneys of record via the Court’s ECF system on October 3, 2022.
  4
  5
  6                                          By: /s/ Louis W. Tompros
  7                                              Louis W. Tompros (pro hac vice)
                                                 louis.tompros@wilmerhale.com
  8                                              WILMER CUTLER PICKERING
                                                   HALE AND DORR LLP
  9                                              60 State Street
                                                 Boston, MA 02109
 10                                              Telephone: (617) 526-6000
                                                 Fax: (617) 526-5000
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                -1-
      Case No. 2:22-cv-04355-JFW-JEM             NOTICE OF MOTION; MOTION TO STRIKE
